                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 JOHNNY M. HUNT,

                Plaintiff,

         v.                                          Case No. 3:23-cv-00243

 SOUTHERN BAPTIST CONVENTION;                        Judge Campbell
 GUIDEPOST SOLUTIONS LLC; and                        Magistrate Judge Frensley
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION                         JURY DEMAND


                Defendants.




                DECLARATION OF MELISSA J. HOGAN IN SUPPORT OF
                           NON-PARTY JANE DOE’S:

MOTION TO PROCEED PSEUDONYMOUSLY AND TO REDACT REFERENCES TO
    HER NAME AND IDENTIFYING INFORMATION IN PUBLIC FILINGS

                             MOTION FOR PROTECTIVE ORDER

                       MOTION FOR LEAVE TO FILE UNDER SEAL

               MOTION TO EXPEDITE AND FOR EMERGENCY RELIEF


       MELISSA J. HOGAN, ESQ., declares under penalty of perjury under 28 U.S.C. § 1746

that the following is true and correct:

       I, Melissa J. Hogan, am counsel to non-party Jane Doe and submit this Declaration in

support of Jane Doe’s motions to proceed pseudonymously and to redact references to her name

and identifying information in public filings, Motion for Protective Order (concerning Jane Doe’s

Fed. R. Civ. P. 30(b) deposition noticed by Defendant Guidepost Solutions LLC’s (“Guidepost”)

counsel), Motion for Leave to File Under Seal, and Motion to Expedite and For Emergency Relief.

                                               1
       I state, aver, and declare the following.

       1.      On November 29, 2023, at 10:27a.m., Jane Doe’s lead counsel in this case, Basyle

Tchividjian (Florida Bar # 0985007), received from Plaintiff Johnny M. Hunt (“Plaintiff”)’s

counsel a subpoena duces tecum for our client Jane Doe and a subpoena duces tecum for her spouse

(the “Subpoenas Duces Tecum”).

       2.      The Subpoenas Duces Tecum purported to require compliance by December 8,

2023, only nine days after service, in violation of Fed. R. Civ. P. 34 and 45.

       3.      I was engaged by Jane Doe and her spouse as local counsel on December 3, 2023.

       4.      On December 5, I conferred with Plaintiff’s counsel and agreed to produce the

documents by December 15, 2023, sixteen days after service.

       5.      On December 15, I conferred with Plaintiff’s counsel and we agreed that my clients

would produce the documents by December 20, 2023, twenty-one days after service.

       6.      On December 20, 2023, 3:48p.m., we responded to the Subpoenas Duces Tecum,

designating responsive documents under the Highly Confidential – Attorneys’ Eyes Only

designation based on the Court’s Order dated November 22, 2023 (ECF Doc. No. 76) noting that

the information regarding Jane Doe “is clearly very personal and relates to an instance of sexual

abuse.” Id.

       7.      The Subpoena Duces Tecum request included specifically identified documents

that Plaintiff was also requesting from Defendant Guidepost and that had and would continue as

the basis for a series of discovery disputes in this case. See Court’s Order, November 22, 2023

(ECF Doc. No. 76), Plaintiff’s Second Motion to Compel (ECF Doc. No. 106); Plaintiff’s Third

Motion to Compel (ECF Doc. No. 130).

       8.      On January 17, 2024, we received from Guidepost’s counsel a Notice of Deposition


                                                   2
pursuant to Fed. R. Civ. P. 30(b)(6) (the “First Notice”) and a Notice of Subpoena and Subpoena

to Testify at a Deposition in a Civil Action (the “Deposition Subpoena”). A copy of the Deposition

Subpoena (redacted) is attached as Exhibit 1 and a copy of the First Notice (redacted) is attached as

Exhibit 2.

        9.      The First Notice scheduled the deposition for February 8, 2024; however, my client,

co-counsel, and I were unavailable on that date and we began to confer with Guidepost’s counsel

regarding suitable dates and other protections for our client. Given that our client was a non-party

to this case, both the client’s and our calendars were not clear of other matters for some time to

prepare for and sit for a deposition. Our client also suffered emotionally from the continued

onslaught of this traumatic experience and financially from the necessity of engaging and paying

for counsel.

        10.     On January 18, 2024, I notified counsel for Plaintiff that my client’s name was not

fully redacted on their Discovery Dispute Statement (ECF Doc. No. 100-20) and asked that he

correct this redaction, since it would allow viewers of the docket to potentially discern my client’s

identity.

        11.     On January 19, despite the fact that my client’s name and identifying information

had theretofore been redacted or omitted from every filing by every party to this case, and we had

submitted documents under the Highly Confidential – Attorneys’ Eyes Only designation,

Plaintiff’s counsel refused to correct the redaction and simply responded that they had complied

with the requirements of the Court’s Protective Order. A copy of the email exchange is attached

as Exhibit 3.

        12.     Between Fall 2023 and April 2024, a series of contentious discovery disputes

ensued in this case, many of which involved topics that would likely be within the scope of Jane

Doe’s deposition. As such, Jane Doe’s lead counsel and I considered it in the best interest of our
                                                 3
client, a non-party, to wait for these disputes to be addressed by the court. Even so, over that time,

we verbally conferred with Defendant Guidepost’s counsel and Plaintiff’s counsel and exchanged

emails regarding a potential deposition and protections for our client.

        13.     On February 15, 2024, Plaintiff’s counsel emailed me a notice and subpoenas for

depositions for Jane Doe and her spouse but we were not authorized by our client to receive service

and communicated as such to Plaintiff’s counsel on multiple occasions.

        14.     During the course of these discussions, on several occasions, Plaintiff’s counsel did

not respond to my emails regarding discovery matters and/or did not copy me on e-mails. See, e.g.,

a copy of Melissa J. Hogan and Basyle Tchividjian’ email exchanges with Plaintiff’s counsel

between February 15 and March 7 (redacted) are attached as Exhibit 4.

        15.     On March 26, 2024, we conferred with all Defendants’ counsel regarding the

requested protections for Jane Doe in a deposition. During that conference, we communicated that

Jane Doe’s lead counsel had a trial in New York state beginning April 15, 2024, that he is preparing

for and as a solo practitioner, is focused solely on until the conclusion of that trial.

        16.     I subsequently learned that on April 15 and 16, 2024, I will be out-of-state at a

hospital procedure with a minor child and also unavailable for a deposition of my client Jane Doe.

        17.     On March 29, 2024, Defendants Southern Baptist Convention and the Executive

Committee of the Southern Baptist Convention confirmed they had no objections to our requested

conditions for Jane Doe’s deposition.

        18.     On April 2, 2024, Defendant Guidepost confirmed they had no objections to our

requested conditions for Jane Doe’s deposition.

        19.     On April 2, 2024, Defendant Guidepost sent a notice of deposition for Jane Doe for

April 16, 2024 (the “Second Notice”) with the purpose of noticing the deposition within the court’s

current fact discovery window prior to our expected motion for protective order on behalf of Jane
                                                   4
Doe. A copy of the Second Notice (redacted) is attached as Exhibit 5.

        20.       On April 2, 2024, we conferred with Plaintiff’s counsel regarding the requested

protections for Jane Doe in a deposition. Plaintiff’s counsel Robert MacGill said that Jane Doe’s

testimony would be “very public, very public,” generating concern about maintaining the privacy

of Jane Doe’s identity and deposition.

        21.       On April 4, 2024, we clarified to Defendants and Plaintiff that we would also be

seeking leave of the court to proceed pseudonymously for Jane Doe, to seal her deposition

subpoena and notices, and to require redaction of her name and identifying information from any

public filings.

        22.       On April 5, 2024, all Defendants communicated that they did not object to Jane

Doe proceeding pseudonymously, sealing the subpoena and notices, and to the redaction of her

name and identifying information from any public filings.

        23.       On April 5, 2024, Plaintiff’s counsel communicated that they objected to most of

the requested conditions discussed for Jane Doe’s deposition.

        24.       On April 5, 2024, April 8, 2024, and April 9, 2024, I asked Plaintiff’s counsel

whether they would oppose our Motion to Proceed Pseudonymously and he refused to state a

position. A copy of the email exchange (redacted) is attached as Exhibit 6.

        25.       On April 8, Plaintiff filed a Memorandum in Support of Motion to Reconsider

Order No. 158 Regarding Text Messages (ECF Doc. No. 163) which includes an attachment with

Jane Doe’s name unredacted on SIX different lines of the attachment. A copy of the filing (ECF

Doc. No. 163-1) (redacted) is attached as Exhibit 7.

        26.       On April 8, 2024, at approximately 9:51pm CT, I called and left messages on the

mobile phones of Plaintiff counsel Robert MacGill and Patrick Sanders to make them aware of the


                                                  5
serious redaction errors. I also emailed Plaintiff counsel to point out the serious redaction errors.

A copy of the email (redacted) is attached as Exhibit 8.

       27.     On April 9, 2024, counsel for Plaintiff, instead of conferring with counsel for Jane

Doe, filed a Motion for Leave to File Under Seal (ECF Doc. No. 166) regarding the serious

redaction errors on ECF Doc. No. 163-1, stating that the reason for the motion was at the request

of a third party, but which only draws more attention to a document containing Jane Doe’s identity.

       28.     On April 9, 2024, I emailed with and spoke by phone with Defendant Guidepost’s

counsel who represented that the deposition of Julie Woods (ECF Doc. No. 163-1) was originally

completely designated Highly Confidential – Attorneys’ Eyes Only and then an updated version

was sent to Plaintiff’s counsel to a reflect a Highly Confidential – Attorneys’ Eyes Only

designation for portions of the deposition, which included any references to Jane Doe’s or her

spouse’s name. A copy of the email from Guidepost’s counsel is attached as Exhibit 9.

I declare under the penalty of perjury under the United States of America that the foregoing is true

and correct.

       Executed on the 9th day of April 2024, at Nashville, Tennessee.

                                             Respectfully submitted,




                                             Melissa J. Hogan (BPR #19430)
                                             QAVAH LAW
                                             8757 Horton Hwy
                                             College Grove, Tennessee 37046
                                             Telephone: 615-293-6623
                                             melissajhogan@qavahlaw.com

                                             Counsel for Jane Doe




                                                 6
                              CERTIFICATE OF SERVICE

       The undersigned certifies that on April 9, 2024, I electronically filed a true and correct
copy of the foregoing with the Clerk of Court for the U.S. District Court Middle District of
Tennessee through the Court’s Electronic Case Filing System, which will automatically serve all
counsel of record listed below:

Steven G. Mintz, Esq.                              Thomas J. Hurney, Jr., Esq.
Terence W. McCormick, Esq.                         Gretchen M. Callas, Esq.
Scott Klein, Esq.                                  Jackson Kelly PLLC
Adam Kahan Brody, Esq.                             500 Lee Street East, Suite 1600
Alex Otchy, Esq.                                   P.O. Box 553
Mintz & Gold LLP                                   Charleston, West Virginia 253322
600 Third Avenue                                   Telephone: 304-340-1000
25th Floor                                         thurney@jacksonkelly.com
New York, NY 10016                                 gcallas@jacksonkelly.com
Telephone: 212-696-4848
mintz@mintzandgold.com                             Counsel for Defendant Executive Committee
mccormick@mintzandgold.com                         of the Southern Baptist Convention
klein@mintzandgold.com
brody@mintzandgold.com                             John R. Jacobson, Esq.
otchy@mintzandgold.com                             Katharine R. Klein
                                                   1906 West End Avenue
Counsel for Defendant Guidepost                    Nashville, Tennessee 37203
Solutions LLC                                      Telephone: 615-320-3700
                                                   jjacobson@rjfirm.com
Scarlett Singleton Nokes, Esq.                     kklein@rjfirm.com
R. Brandon Bundren, Esq.
E. Todd Presnell, Esq.                             L. Gino Marchetti, Jr. Esq.
Bradley Arant Boult Cummings LLP                   Matthew C. Pietsch, Esq.
1600 Division Street, Suite 700                    Taylor, Pique, Marchetti & Blair, PLLC
Nashville, TN 37203                                2908 Poston Avenue
Telephone: 615-326-9059                            Nashville, TN 37203
snokes@bradley.com                                 Telephone: 615-320-3225
bbundren@bradley.com                               gmarchetti@tpmblaw.com
tpresnell@bradley.com                              matt@tpmblaw.com

Gene R. Besen, Esq.                                Counsel for Defendant
Bradley Arant Boult Cummings, LLP                  Southern Baptist Convention
Fountain Place
1445 Ross Avenue, Suite 3600
Dallas, TX 75202
Telephone: 214-357-9758
gbesen@bradley.com




                                               7
Robert D. MacGill, Esq.                T. Dylan Reeves, Esq.
Scott E. Murray, Esq.                  Stites & Haribson, PLLC
Patrick J. Sanders, Esq                401 Commerce St.
MacGill PC                             Suite 800, Ste 800
156 E. Market Street, Suite 1200       Nashville, TN 37219
Indianapolis, IN 46204                 Telephone: (615) 782-2200
Telephone: 317-721-1253                dreeves@stites.com
Robert.macgill@macgilllaw.com
Scott.murray@macgilllaw.com            Counsel for non-party Roy Blankenship
Patrick.sanders@macgilllaw.com

Todd G. Cole, Esq.
Andrew Goldstein, Esq.
Cole Law Group, P.C.
1648 Westgate Circle, Suite 301
Brentwood, TN 37027
Telephone: 615-326-9059
tcole@colelawgrouppc.com
agoldstein@colelawgrouppc.com

Counsel for Plaintiff



                                        By: s/ Melissa J. Hogan




                                   8
